 Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 1 of 8               PageID #: 4




                   AFFIDAVIT IN SUPPORT OF AN APPLICATION
                         FOR A CRIMINAL COMPLAINT

       I, Sean Sullivan, a Special Agent with the U.S. Department of State, Diplomatic

Security Service, being duly sworn, depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

1.     I make this affidavit in support of a criminal complaint charging Andrea Cochran

with false use of a passport, in violation of 18 U.S.C. § 1543, and aggravated identity

theft, in violation of 18 U.S.C. §§ 1028A(a)(1) and 1028(b).

2.     I have been employed by the U.S. Department of State, Diplomatic Security

Service as a Special Agent since 2016. I am currently assigned to the Portsmouth

Resident Office in Portsmouth, New Hampshire, and have been since September of

2022. During my time as a special agent, I have participated in investigations of

passport fraud, visa fraud, money laundering, conspiracy, wire fraud, identity theft and

fraudulent document investigations. I have attended and successfully completed the

Criminal Investigator Training Program at the Federal Law Enforcement Training

Center, and the Basic Special Agent Course at the Diplomatic Security Training Center.

3.     The information in this affidavit is based upon my own knowledge, records

furnished to me in my official capacity, and information provided by other law

enforcement officials, as well as information gained through my training and

experience. This affidavit is intended to provide the facts necessary for a determination

of probable cause for the requested arrest warrant and complaint.

4.     Based on my training and experience and the facts as set forth in this affidavit, I

submit that probable cause exists to believe that Andrea Cochran (“Cochran”) willfully

and knowingly used and attempted to use a false, forged, counterfeited, or altered


Affidavit in Support of Criminal Complaint—Page 1


                                     SBU -LAW ENFORCEMENT
 Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 2 of 8              PageID #: 5




passport or instrument purporting to be a passport in violation of 18 U.S.C. § 1543. I

submit there is also probable cause to believe Cochran knowingly possessed and used,

without lawful authority, a means of identification of Victim 1 during and in relation to

the commission of bank fraud—a felony violation enumerated in 18 U.S.C. § 1028A(c)—

knowing that the means of identification belonged to another actual person, in violation

of 18 U.S.C. §§ 1028A(a)(1) and 1028A(b).

                                       PROBABLE CAUSE

5.     On June 20, 2024, Officer Bissonnette with the Westbrook Police Department

(“WPD”) responded to the Cumberland County Credit Union (“CCCU”) in Westbrook,

Maine for a fraud complaint. Officer Bissonnette was advised by Dispatch that a CCCU

representative reported a female—described as approximately 5’5”, with short hair, and

wearing a maroon shirt and jean pants—had presented fraudulent identification and left

the CCCU with $12,000 from a CCCU member’s account.

6.     At CCCU, Officer Bissonnette met with a branch service manager (“Employee 1”).

Employee 1 reported that, approximately fifteen minutes before Officer Bissonnette’s

arrival, the above-described female requested to make a withdrawal from a CCCU teller

(“Employee 2”). Employee 1 reported hearing part of the conversation about the

withdrawal transaction between Employee 2 and the female subject, including

Employee 2 asking for the subject’s social security number and the subject providing the

entire nine-digit social security number for an actual CCCU member (“Victim 1”). The

subject then asked for two different withdrawals from Victim 1’s accounts—$5,200 from

Victim 1’s money market account and $6,800 from Victim 1’s savings account. The

subject electronically signed for each transaction. Employee 1 also reported the subject

was wearing a Bluetooth ear piece.

Affidavit in Support of Criminal Complaint—Page 2


                                     SBU -LAW ENFORCEMENT
 Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 3 of 8            PageID #: 6




7.     Employee 1 reported to Officer Bissonnette that the subject was observed walking

towards Portland on Main Street. After reviewing the transactions and speaking with

other bank administrators, Employee 1 determined the transactions were fraudulent.

Employee 1 provided Officer Bissonnette a screenshot of the subject, a portion of which

is included below. Officer Bissonnette and Dispatch disseminated the image to area

police units and agencies.




8.     Employee 1 then informed Officer Bissonnette that she was receiving information

that a similar fraudulent transaction had just occurred at the CCCU branch in Portland,

Maine, in which someone withdrew $7,250 from Victim 1’s account. Employee 1

distributed the screenshot of the female subject from the Westbrook CCCU branch to

other branches in the area.

9.     Officer Bissonnette made contact with Victim 1 by phone. Victim 1 advised that

she had made a transaction for $15 at the CCCU branch in Yarmouth but had not been



Affidavit in Support of Criminal Complaint—Page 3


                                     SBU -LAW ENFORCEMENT
 Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 4 of 8             PageID #: 7




to the Westbrook or Portland CCCU branches that day. Victim 1 also advised that she

had not given permission for anyone to make a transaction on her behalf.

10.     Employee 1 then informed Officer Bissonnette that she was receiving information

that the female subject was in police custody at the CCCU branch in Windham, Maine.

Officer Bissonnette made contact with another law enforcement officer and learned that

the subject—identified as Andrea Cochran—was in custody. The other law enforcement

officer reported that someone from the Windham CCCU branch called the police after a

female matching the Westbrook CCCU screenshot from Employee 1 entered the

Windham CCCU branch. The other law enforcement officer further reported that

Cochran had several different forms of identification on her, including in the name of

Victim 1.

11.     Cochran was transported to the WPD. Windham Police Department Officer

LeBlanc provided Officer Bissonnette with items found on Cochran’s person including,

among other things, a wallet containing a social security card for Andrea Cochran and

an HSBC Visa Card in Victim 1’s name. The wallet also contained an instrument

purporting to be a United States passport card bearing the name and date of birth of

Victim 1.

12.     At the WPD, Officer Bissonnette reviewed a printout of Cochran’s driver’s license

information and photograph from Texas. Officer Bissonnette observed that the

information Cochran provided to identify herself matched most of what was contained

in the information from Texas (except for the address and emergency contact name).

Officer Bissonnette observed that the driver’s license photograph in Texas’s records bore

a striking resemblance to Cochran but appeared to have been taken “probably 20 years

ago.”

Affidavit in Support of Criminal Complaint—Page 4


                                     SBU -LAW ENFORCEMENT
 Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 5 of 8              PageID #: 8




13.    The WPD obtained copies of the receipts for the $5,200 and $6,800 withdrawals

from Victim 1’s accounts at the Westbrook CCCU on June 20, 2024. Both bore

signatures purporting to be Victim 1’s signature.

14.    Officer Bissonnette advised Cochran of her Miranda rights. I understand that

Cochran waived her rights and agreed to answer questions. I understand that Cochran

ultimately disclosed, in summary and in part, that she is homeless and an addict. I have

not yet had an opportunity to review the recording of Cochran’s interview.

15.    A copy of a booking photograph of Cochran taken following Cochran’s arrest is

included below.




16.    I have viewed the purported passport card located on Cochran’s person. The

instrument was in the given name and surname of Victim 1 and bore Victim 1’s date of

birth, but the picture on the card was a likeness of Cochran. The instrument also bore

“Passport Card no. C36598741.” A photograph (which I obtained from the WPD) of the

instrument is included below with Victim 1’s name and date of birth redacted.




Affidavit in Support of Criminal Complaint—Page 5


                                     SBU -LAW ENFORCEMENT
 Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 6 of 8             PageID #: 9




A portion of an additional picture of the purported passport card, more clearly capturing

the image of Cochran, is included below.




17.    I have been in contact with Employee 1, who confirmed that the female subject—

later identified by law enforcement as Cochran—presented the purported passport card

to Employee 2 as a form of identification to access Victim 1’s accounts.

18.    The Diplomatic Security Service queried the Consular Consolidated Database

(“CCD”), the Department of State repository for passport and visa records, and

determined that Victim 1 has a passport card that bears a number other than

C36598741. The CCD also revealed that no passport card has been issued in Cochran’s

name and date of birth.

Affidavit in Support of Criminal Complaint—Page 6


                                     SBU -LAW ENFORCEMENT
Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 7 of 8                PageID #: 10




19.    According to 22 CFR § 51.3(e)—which bears the heading “Types of passports”—

a passport card is issued to a national of the United States on the same basis as a

regular passport, and is valid for departure from, and entry to, the United States

through land and sea ports of entry between the United States and Mexico, Canada, the

Caribbean and Bermuda.

20.    I submit there is probable cause to believe Cochran knew that the means of

identification—that is, the instrument purporting to be a passport card in the name of

Victim 1 and bearing Victim 1’s date of birth—belonged to another actual person because

Cochran used the instrument (bearing her own likeness) to successfully complete two

withdrawals from an actual person’s bank account at the Westbrook CCCU.

                                          CONCLUSION

21.    Based on my training and experience and the facts as set forth in this affidavit, I

submit that probable cause exists to believe that Cochran willfully and knowingly used

and attempted to use a false, forged, counterfeited, or altered passport or instrument

purporting to be a passport in the name of Victim 1 in violation of 18 U.S.C. § 1543. I

submit there is also probable cause to believe Cochran knowingly possessed and used,

without lawful authority, a means of identification of Victim 1 during and in relation to

the commission of bank fraud—a felony violation enumerated in 18 U.S.C. § 1028A(c)—

knowing that the means of identification belonged to another actual person, in violation

of 18 U.S.C. §§ 1028A(a)(1) and 1028A(b).




Affidavit in Support of Criminal Complaint—Page 7


                                     SBU -LAW ENFORCEMENT
Case 2:24-mj-00208-KFW Document 3-1 Filed 06/21/24 Page 8 of 8       PageID #: 11




Jun 21 2024


        Portland, Maine                    Karen Frink Wolf, U.S. Magistrate Judge
